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                    UNITED STATES BANKRUPTCY COURT
                     SOUTHERN DISTRICT OF FLORIDA

In Re:                                                   Case No: 11-44246-AJC
Carlos Javier Alvarez                                    Chapter 13
                  Debtor(s),


    WELLS FARGO BANK, NATIONAL ASSOCIATION'S RESPONSE TO
  MOTION FOR REHEARING ON ORDER DENYING MOTION TO VALUE
   AND DETERMINE SECURED STATUS OF LIEN ON REAL PROPERTY
                         (ECF NO. 67)

       Secured Creditor Wells Fargo Bank, National Association, as trustee for the

holders of the First Franklin Mortgage Loan Trust 2006-FF15 Mortgage Pass-Through

Certificates, Series 2006-FF15, ("Movant") by and through its undersigned counsel, files

its Response to Debtor’s Motion for Rehearing on Order Denying Motion to Value and

Determine Secured Status of Lien (ECF No. 67), and in support states as follows:


1. The Debtor has filed a motion for rehearing of this court’s April 24, 2012 Order

   Denying Motion to Value and Determine Secured Status of Lien on Real Property

   Held by Wells Fargo Bank, National Association, as Trustee (ECF No. 63). The

   motion was filed within 14 days after entry of the order and is accordingly governed

   by Fed. R. Bankr. P. 9023. A motion for reconsideration or rehearing under Rule

   9023, applying Fed. R. Civ. P. 59(e), may be granted on four grounds: (1) the

   judgment is based upon manifest errors of law or fact; (2) there is newly discovered

   or previously unavailable evidence; (3) amendment is necessary to prevent manifest

   injustice; or (4) there is an intervening change in controlling law. In re Piazza, Case

   No. 10-40807-BKC-JKO (Bankr. S.D. Fla. September 29, 2011 (Olson, J) (citing In

   re Arden Properties, Inc., 248 B.R. 164 (Bankr. D. Ariz. 2000)); see also In re


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   Prince, 85 F.3d 314, 36 (7th Cir. 1996), cert. denied, 519 U.S. 1040 (1996). A party

   may not utilize Rule 59(e) to complete presentation of the party's case after the court

   has ruled against that party. Id. (citing Matter of Reese, 91 F.3d 37 (7th Cir. 1996))

2. There has not been, nor has the debtor alleged, any newly discovered evidence, a

   manifest injustice, or any intervening change in controlling law. As a result, Movant

   must assume the Debtor’s argument is that the order contained a manifest error of

   law. However, because the Debtor fails to establish a manifest error of law or fact as

   required by Fed. R. Bankr. P. 9023, the Motion must be denied.

3. As an initial matter, the Court has already held several hearings on this matter hearing

   the arguments of both parties. The Motion to Value initially came for hearing on

   January 24, 2012, at which Debtor’s attorney requested the hearing continued so that

   the tenants-by-the-entireties (TBE) issue could be further addressed. A continued

   hearing took place on February 21, 2012 where the Court took the matter under

   advisement and ordered that the Debtor’s Counsel prepare a memorandum of law

   addressing the issues raised in our response before March 6, 2012. The Court entered

   is Order Denying Motion to Value on April 24, 2012. Further, several confirmation

   hearings have taken place and been continued pending resolution of the TBE matter.

   As a result, the matter has been fully and adequately adjudicated and the Court should

   not permit Debtor to continue arguing its case after the Court has ruled against him.

4. The Debtor first asks the court to consider a recent case decided in the Middle District

   of Florida, In re Pierre, 2012 WL 928192 (Bankr. M.D.Fla. Mar. 16, 2012) where that

   court “ruled similarly to this court on this type of issue.” This case only supports the




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   Court’s decision in this case and the fact that the debtor in Pierre has filed an appeal

   in that case is of no consequence to this case where no appeal has been filed.

5. The Debtor’s second argument, that the ruling in this case is inconsistent with the ruling

   in In re Strausbough, 426 B.R. 243 (Bankr. E.D.Mich. 2010) is equally unpersuasive.

   The Court considered and rejected the reasoning in that case and instead agreed with

   the overwhelming majority of cases which have likewise rejected the Strausbough

   decision. Further, recently the United States District Court for the District of Maryland

   took up this issue on appeal and again rejected Strausbough in favor of the reasoning in

   Hunter. Alvarez v. HSBC Bank USA, Nat. Ass'n, 2011 WL 6941670 (D. Md . Dec. 28,

   2011). See Also In re Hunter, 284 B.R. 806 (Bankr. E.D. Va. 2002); In re Hulsey, Case

   No. 10-36086-DER (Bankr. Md. July 12, 2011 (Rice, D).

6. The Debtor’s third argument, regarding whether or not the debt itself is a joint debt,

   confuses the issue by missing the important distinction between the trustee’s ability to

   sever entireties estate property pursuant to 11 U.S.C. §363(h) to satisfy joint debts of

   joint creditors on the one hand, and the inability of either spouse to individually

   dispose of the entireties property regardless of whether or not the debt itself is joint.

7. The Debtor’s fourth argument, that the court should disregard the type of ownership

   of the property or future incidental benefit at the time of filing, also fails and is

   unpersuasive. The Debtor argues that “Certainly if we were cramming down a 2003

   Pontiac that was jointly owned, the courts….would have little objection.” This is

   nothing more than an unsupported legal conclusion. Assuming the Debtor’s

   hypothetical “2003 Pontiac” is owned by the hypothetical debtor and his non-filing

   spouse as TBE, Movant does not believe that the Bankruptcy Code, or the courts,



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   would allow the hypothetical debtor to cramdown the personal property. Regardless,

   this case is dealing with real estate, assuming arguendo the Debtor’s argument has

   merit it would be irrelevant in this case.

       WHEREFORE, Movant respectfully requests this Honorable Court deny the

Debtor’s Motion for Rehearing of the Order Denying Debtor's Motion to Value and

Determine Secured Status and deny holding the matter in abeyance pending the decision

of the District Court of the Middle District of Florida, and to deny confirmation of the

Debtor’s Chapter 13 Plan, and such further relief the Court deems just and proper.


 CERTIFICATION AS TO ADMISSION TO THE SOUTHERN DISTRICT BAR

        I hereby certify that I am admitted to the Bar of the United States District Court
for the Southern District of Florida, and I am in compliance with the additional
qualifications to practice in this court set forth in Local Rule 2090-1(A).

                                                By: /s/ Owen Hare
                                                   Owen Hare Bar ID No: 89053
                                                     /s/ R. Mark Peery
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                           CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a true and correct copy of the foregoing has been sent by
electronic or standard first class mail this 15th day of June, 2012 to the following:

U.S. Trustee: Office of the US Trustee, 51 S.W. 1st Ave., Suite 1204, Miami, FL 33130

Chapter 13 Trustee: Nancy N Herkert, POB 279806, Miramar, FL 33027

Attorney for Debtor(s): Andres Montejo, Esq., 6157 NW 167 St #F21, Miami, FL 33015,
amontejo@andresmontejolaw.com

Debtor: Carlos Javier Alvarez, 12338 NW 11 Lane, Miami, FL 33172

Co-Debtor: Martha L Jimez, 12338 NW 11 Lane, Miami, FL 33172

Co-Debtor: Martha L Jimez, 13909 SW 172nd Lane, Miami, Florida 33177


                                          By: /s/ Owen Hare
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